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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




John Doe,

                                   Plaintiff(s),

v.                                                     Case No. 2:18−cv−11776−AJT−EAS
                                                       Hon. Arthur J. Tarnow
University of Michigan, et al.,

                                   Defendant(s).




                                  CERTIFICATE OF SERVICE

   I hereby certify that a copy of the Notice(s) of Appeal filed in this case and this Certificate
of Service was served upon:

                    United States Court of Appeals for the Sixth Circuit
                    Potter Stewart U.S. Courthouse
                    100 East Fifth Street, Fifth Floor
                    Cincinnati, OH 45202−3988

and all interested parties, by electronic means or first class U.S. mail, on July 26, 2018.




                                                   DAVID J. WEAVER, CLERK OF COURT


                                               By: s/ S Krause
                                                   Deputy Clerk


Dated: July 26, 2018
